     Case: 1:17-md-02804 Doc #: 488 Filed: 05/24/18 1 of 2. PageID #: 7391




                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −31)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 619 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

              May 24, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
   Case: 1:17-md-02804 Doc #: 488 Filed: 05/24/18 2 of 2. PageID #: 7392




IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                  SCHEDULE CTO−31 − TAG−ALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


ALABAMA NORTHERN

  ALN        4       18−00708      St. Clair County, Alabama v. Actavis LLC et al

CALIFORNIA EASTERN

                                   County of Mariposa, et al v. Amerisourcebergen Drug
  CAE        1       18−00626      Corporation et al
                                   County of Tuolumne, et al v. Amerisource Bergen Drug
  CAE        1       18−00630      Corporation et al
                                   County of Sacramento v. Amerisourcebergen Drug
  CAE        2       18−01135      Corporation et al
                                   County of Lassen v. Amerisourcebergen Drug
  CAE        2       18−01137      Corporation et al

CALIFORNIA NORTHERN

                                   County of Monterey v. Amerisourcebergen Drug
  CAN        5       18−02693      Corporation et al

CALIFORNIA SOUTHERN

                                   County of San Diego et al v. Amerisourcebergen Drug
  CAS        3       18−00882      Corporation et al

FLORIDA NORTHERN

  FLN        1       18−00086      ALACHUA COUNTY v. PURDUE PHARMA LP et al

NEW JERSEY

  NJ         2       18−08845      BERGEN COUNTY v. PURDUE PHARMA L.P. et al

WASHINGTON WESTERN

 WAW         3       18−05361      Clallam County v. Purdue Pharma, L.P. et al
